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 5
     Attorney for: Eric NEWBORN
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 8
 9                    IN THE UNITED STATES DISTRICT COURT FOR THE
10
                               EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA, )                  CR. No. 2:03-CR-00371 MCE
                                )
14                   Plaintiff, )                 STIPULATION AND PROPOSED ORDER
                                )                 TO CONTINUE JUDGMENT &
15
               v.               )                 SENTENCING & MODIFYING PRE-
16                              )                 SENTENCE REPORT DISCLOSURE
     ERIC NEWBORN,              )                 SCHEDULE
17                              )
18                   Defendant. )
                                )
19                              )
20          The defendant, Eric Newborn, through his undersigned counsel, and the United States,
21
     through its undersigned counsel, agree and stipulate that the judgment and sentencing currently
22
     scheduled for Thursday, January 15, 2009 at 9:00 a.m., should be vacated and continued until
23
24   Thursday, February 19, 2009 at 9:00 a.m.

25          A continuance is necessary to allow defense counsel time to review the proposed Pre-
26
     Sentence Report and file informal objections. Additionally defense counsel needs time to collect
27
     and review character reference letters to submit to Probation for consideration.
28




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            It is further stipulated that the schedule for disclosure of Pre-Sentence Report and for
 1
 2   filing of objections to the Pre-Sentence Report be modified as follows:

 3   Judgment and sentencing:                                            2/19/2009
 4
     Motion for corrections of the Pre-
 5   Sentence Report shall be filed with
     the court and served on the Probation
 6   Officer and opposing counsel no later
 7   than:                                                               2/12/2009

 8   The Pre-Sentence Report shall be filed
     with the court and served upon opposing
 9
     counsel no later than:                                              2/5/2009
10
     Counsel’s written informal objections to the
11   Pre-Sentence report shall be delivered to the
12   Probation Officer and opposing counsel no
     later than:                                                         1/29/2009
13
14          The proposed Pre-Sentence Report has already been received by the parties.
15
            The parties further stipulate that time should be excluded under the Speedy Trial Act due
16
     to needs of counsel to prepare for sentencing and ongoing sentencing negotiation. [Local Code
17
18   T4 & T2]

19          I William E. Bonham, the filing party, have received authorization from AUSA William
20
     Wong to sign and submit this stipulation and proposed order on their behalf and that defense
21
     counsel has authorization from his respective client.
22
23                  Accordingly, the defendant and the United States agree and stipulate that the

24   change of plea should be continued until 9:00 a.m. on Thursday, February 19, 2009.
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26
27
28




                                                      2
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     Dated: January 12, 2009
 1
 2                                                  McGREGOR W. SCOTT
                                                    United States Attorney
 3
 4
                                                    By:   /s/ William Wong
 5                                                        WILLIAM WONG
                                                          Assistant U.S. Attorney
 6
 7
 8
     Dated: January 12, 2009
 9
                                                    ERIC NEWBORN
10                                                        Defendant

11                                                  By:/s/ William E. Bonham for
12                                                         WILLIAM E. BONHAM
                                                           Counsel for Defendant
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                                           ORDER



                                           3
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            IT IS SO ORDERED. This matter is continued until 9:00 a.m. on Thursday, February
 1
 2   19, 2009 for judgment and sentencing and that the schedule for disclosure of Pre-Sentence

 3   Report is modified as stated in above stipulation.
 4
            I find that the continuance is necessary and that time should be excluded under the
 5
     Speedy Trial Act due to needs of counsel for additional time in ongoing sentencing preparation
 6
 7   and negotiations [Local Code T4 & T2]. Accordingly, time should be excluded under the

 8   Speedy Trial Act due to needs of counsel to prepare [Local Code T4 & T2], up to and including
 9
     February 19, 2009.
10
     DATED: January 13, 2009
11
12                                             __________________________________
                                               MORRISON C. ENGLAND, JR
13                                             UNITED STATES DISTRICT JUDGE
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